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      Briefly describe the factsofyourcase. D escribe how each defendantisinvolved,nam esofother
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Case 1:13-cv-22020-KMW Document 1 Entered on FLSD Docket 06/05/2013 Page 5 of 107




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     A lien # 099621606
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      K RO M E S.P.C.
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Case 1:13-cv-22020-KMW Document 1 Entered on FLSD Docket 06/05/2013 Page 6 of 107




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                 Hihopefully found you on agood day.'    l'm on progressthankGod.A1lthewordson thispagesare
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           Page6G ENERAL INTROD UCTION :whereitstatesthem ission oftheserviceprocessing Centeristo
           provideforandmaintain asetofstandand!ConductthatensuresthatDetaineearetreatedwhitrespectand
           dignity and whichprovidesforthebestpossiblecarewhilethey are in the Custody oftheFacility.Reading
           thebook and theeventhappening hereandatLarkinCommunityHospital,itmakcsme feelisme.

           Page6 and 7PURPOSE:sameissueisonD.H.B.BASIC DETAINEE RESPONSIBILITIES thisison
           page8thewordsare,itisthepolicyoflCE totreatdetaineeswhitdignityand respectwhilemaintaininga
           safe,Secure,andsanitary detention facility.
           Page9 DETAINEE RIGHTS thewordsare.Detaineeshavethefollowingrights:Therighttoprotection
           from personalabuse,CorporalPunishment,unnecessaryorexcessiveuseofforce,personallnjury,disease,
           propertydamage,disease,and harassment,therightoffreedom from discrim ination basedon race,religion,
           nationalorigin,nationalorigin,sex sexualorientation,handicap,orpoliticalbeliefs,therightto pursuea
           grievance in accordancewhitproceduresprovidedin thehandbook whitoutthefear,orretaliation,theright
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           in the Handbook,Therightto correspond whitpersonsororganization,Consistentwhitsafety,securityand
           the orderlyoperation ofthe facility,therightto dueprocess,lncluded thepromptresolution ofa
           disciplinarymatter,already tl'ya1lthatand sendinga letterto M inefield officeaddressICE M iamifield
           Office 865Sw 78th Avenue,Suite 10lPlantation,Florida33324.Theletteristocomplainontheofticer1.
            O'Connerforpushingmeagainsttheelevatordoor,Iwasalso sittingon awheclchairon whithandcuffs
            and onthewayto therack.
            Page 10 FUND S AN D PERSON AL PROPERTY
            ltStates,you canrequesttowithdraw money through Detaineecashrequestform locatedin thehousing
            unit.ltalso itstatesyoucan tinedm ore inform ationrelatedto fundsm anagem entin the
            FINANCE/COM M ISSARY section ofthisM anual.Ineed to send aM oney Orderand Kromeisnot
            helping becausesendingtherequestandusingtheinform ation ontheM anualBook on page23
            FINANCE/COM M ISSARY,isforsure someoneisforgemy identification and thepapenvorkreceivefrom
            courtsameattorney when aJudgegotkidnap,and theotherpaperwork foundsomeoneusing my
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            N AM E:Pedro CortesRodriguezJr. Alien//099621606 Page 1
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          l'm sendingpaperwork becausesomeoneforgesm yname atcourt

          Page 13 LIVING CONDITIONS the Krom eServiceprocessing Centerutilizesa
          classification System and housedetaineesaccordingly.ThisStandard isaffected on my
          case becausepage 14 CLASSIFICATION wordsare.Ordinary,detaineesareclassified
          upon arrival,beforebeing adm itted into the generalpopulation.The Classification
          System willensurethatyou are placein theappropriatecategory and physicalseparated
          from Detaineesothercategories.You willbehouse,recreated and fed accordingto other
          detaineesin you'reClassitication.Each detainee isclassified.Each detainee isclassified
          based on inform ation obtained from conviction records,Im migration charging
          documents,andanyofficialrecordorinformationthatisverifiableandcanbejustified
          underreview by officialm eans.Thetotalnum berofpointsassessed determinesthelevel
          ofclassification thisuscalled you're itcustody Score''.They assign m eto Level3 Red
          coloruniform .1'm glad a1lthisisgoing to courtbecausethisisnotme orJoeArpiois
          involve,JoeArpio isalso involveon thepaperwork fora 1aw suitatArizona.Page 15
          CLA SSIFICATION R EV IEW isnotw orking on m y Requestand G rievance.Page l6
          CLA SSIFICA TION appeal,notingw ork here.
           Page l9 M ISSIN G OR D A M A G E PRO PERTY supervisory personalw illbe notified
           when property receipted detaineeproperty isreported m issing ordam age.Supervisory
           staffwillinvestigateand,ifnecessary,takepromptaction to preventfurtherloss.The
           Deportation officerneverhanded m ethe1-387 Form ornevertry to callform y property
           F.M .C and my 30 Dollar's.

           Page22DETAINEE REQUESTFORM GENEM L inordertoassisty0uwith
           questions,request,concern,orotherinformation you need from the staffyou m ay
           utilized the DetaineerequestForm .1donnedthisalso placetheform in them ailslot
           designedforthispurpose(locatedatthecafeteria)toprepareawrittenrequest.M y
           complain isalso,have to do on page40GRIEVANCE PROCEDURES ittalk about
           inform ation grievance resolution offersa detainee the opportunity to expediently hisor
           hercause forcom plain before resorting to the m ore tim e consum ing W ritten form al
           procured.Isordon'twork becausestaffshallm ake every effortto resolve adetainee's
           com plain orgrievanceatthe lowestlevelpossible,in an orderlyand timely m anner,I
           also callthehotline BREAK THE SILENCE itstateslCE havezbro toleranceforsexual
           abuse& assault1-888 351-4024 orthe Speed dial9116# they statethey willshow atcourt
            to help out.
           Page 25 TELEPHONE ACCESS each houseunithastelephonesavailable fortelephones
           available foruse.Thephonesare forcollectand debitonly,m ycomplain isaseriessuit
           because on ICE perform ance based N ationalDetention Standard 32,page 4.The facility
           mustensureprivacy forlegalcallsshallnotbeelectronically monitorisby providing
           telephone whereofficers,Staffon otherdetainee willnotoverheard calls.lbelievethey
           alsoarestealingmymoneyfbrnoreasonbecausecalling(800)isforfree,Thefacility
           m usttakeand delivertelephone messagesto detaineesaspromptly aspossible.lreceive
           amessageand lastthepaper.Iask to send m ethemessagetheansweriswhatyou are
           talking about.Page w ordsare very rude.
Case 1:13-cv-22020-KMW Document 1 Entered on FLSD Docket 06/05/2013 Page 12 of 107



          Page 29 M ASTER CALENDAR HEARIN GS & THE COURT PROCESS isaffecting
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          don'tcallm eorcallme when the attorney isgone,orcallm eand laterthey say what
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          court.Onthe M aterCalendartheJudgedisrespectsm eand isnota Individual/M erits
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           perm itted to mailatleastfive pagespiecesorspecialcorrespondentorlegalm ailand 3
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Case 1:13-cv-22020-KMW Document 1 Entered on FLSD Docket 06/05/2013 Page 17 of 107




     Pedro Cortes R odriguesJr.A lien# 099621606 02/14/2013


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            lcan'tcallthe lnspectorbecause any H otline can'tbe callbecause the phone'sare
             stricted to callany H otLine.
             These Officer'stalk so m uch bad word even when w e ask them or on the radio
             frequency arevezy disrespectfulthey also talk aboutViolar,he'saraton English word
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             they are very disrespectfulthatisno good because lnm ate's are lessening w hatthey
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                                       VISIT.NTION BY LEGAL REPRESENTATIVES
                                    IC E Perform ance Based NationalDetcntion Standard 32
                             HoursofAcctlss
                Legalvisitation mustbeperm itted seven (7)daysaweek for:
                                                                       1lninim um ofeight(8)hoursonweekdays
                and tbtlr(4)hourson weekendsand holidays. Legalvisitations1mt1stnotbe interrupted formeals on
                regularbusincssdays.orterm inatcd forroutineotlicialcountson any day. lfalegalvisittakcsplace
                during :1scheduled mtal. the dctaincc mustrcceivea mcalatterthevisit.

                        B. Acccss(Attorneysand LegalRepresentatives)
               Attorneyswithoutbarcakrdsmustbe grantcd acccssifthey show otheravailabledocumcntation (tbr
               example.alettertiom a law linnlto dcmonstrate barmembership. An attolmey,legalassistant,oran
               accrcdited reprcscntative doesnothavcto submita Form G-28 (stating thatthey arethc legal
               reprcsentative ofthcdetainee)foraprc-represcntation intervicw . Lcgalassistants,Iaw students,law
               graduatesnotyctadmitted to the bar,and non-attonwyswith appropriate itlentitication should bc allowed
               ente upon prescntation ofa Ietterofauthorization from a supervising attorney who is representing the
               detainee-in additionainterpretcrsaccom panying legalrepresentatives, should beallowed entry.

                        C . Privacy
               An attorney orlcgalrcpresentative mustbeprovided with aprivate room to eonductameeting. These
               lneetingscannotbesubjecttoaudioobscrvation,btltvisualobservationlnaybcpenuittcd tbrsccurity
              reasons.M cetings.particularly thosethatcan beheld in a privateroom , should beafforded thc greatest
              degrec ofprivacy ptusible underthecircumstanccs. Attorneys,Iegalrcprcscntativesslaw students. and
              Iegalassistants mustbeallowcd to provide thedetainec with paperdocuments. and thedetaince hasthe
              rightto rctain orhave reasonableaccessto them . Materialsprovidcd by Iegalrcpresentativcsmay be
              inspected.but111t1stnotbe read,by facility staff.

                      D. Strip Searches
              Detaineesshould neverbe stripsearched unlcsstherc isareasonablesuspicion thatdetainec isconceaiing
              contraband.A Iegalvisitdoesnotconstitute reasonable suspicion and should notbethe rcason tbra strip
              search.Ifstandard opcrating proccdurcsata facility requirc slrip searchesahcrevel-  y contactvisitwitha
              Iegalrepresentative, thc tizcility mustprovidc an option fornon-contactvisitsw'ith lcgalrcpresentativcs.

                       E. Consultation forDetaineesSubjectto Expedited Removal
              Priorto theeredible fcarintcrvicw and whilcthc Asyluln Oftscer'sdccision istlnderreview s dctaincesarc
              entitled by statuteto meet. in person orby phonc-with any personst)ftheirchtlice tbra tlonsultation.
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                       F. I-ist()fPro Bono l-egalOrganizations
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                      G . l-egalN'isitation for Detainecs in Segregation

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                        Immediatc fbmily orothcrsfordetainccsin personalorfamily cmcrgcnciesorwho othenvise
                       dcm onstrateacompelling need (to be intem rcted liberally).
                   B. Free Calls '
                           AlllCE detainces,including thosein scgregation. mustbeableto m ake tkee callsto
                      eonsularofficesand to the lcgalserviceproviderson thc ICE/DRO freclcgalscrvice provider
                      list,atno chargeto thedctainee ortotherecciving party. Any denialofdircctorfrce callst         br
                      detainees in segregatitln can only be matle tbrt-
                                                                      tllnpelling and tlot-tllnented reasonsrelated t('
                      satkty.seuurity.and good orderot-thc facility.

                       2. Indigentdetaineeswillnotbe required to pay forcallsto theofficesand individualslisted
                       abovein SectionA (--DirectCalls'').lndigentdctainecscan also requestfreecalls to
                       imm ediate family orothersin personalorfamily emergcncicsorforacompelling need.
                  C. Telephone Accessand Privacy
           Detainecsare required to have reasonable aceessto telephonesdtlring waking hours. Therc m ustbeone
          w orking phone forevery 25dctainees. A facility may only restrictthenumberordurationofphonecalls
           t-
            orrcasonsofphoneavailability. orderly facility operatitlns.such ttscountsormcals- and in casest)f
          emcrgency,Any timelim itgplakled on legaltclephonccallsmustbc no shortcrthan 20 minutes. The
          t-acility m tlstensurcprivacy forIegalcallsby pros'iding telephoneswhcre ofticers, staff orother
          detaineesw illnotoverhearcalls. Legalcallsshallnotbeelectronically monitored withouta courtorder. ll-
          thc facility m onitorsaIlcalls, noticeofmonitoring m ustbedisplayed ateach monitoretlphone along with
          thcprocedurcs forrequcsting an tlnmonitorcd callto acourt, Icgalrcprcscntativc. orlcgalservice
          provider.Detaineesshould be ableto contactfam ily membersdetainedatotherfacilities. The facility
         l'nusttake and delivertelephone mcssagcsto detaincesaspromptly aspossible.

                                          LEG AL RIG HTS GRO UP PRESENTATIO NS
                                   ICE Performance Based NationalDetention Standard 37
        A ttot meysand BlA-acercditcd legalrepresentativeshave thcrightto conductlegalrightspresentationsin
        detcntion facilities. Atthcrcquestofoutsidcorganizations.lcE/DRo-appi-                 oved clcctronically rccorded
        prescntationsshallbe show'n atlcastonce aweek. Organizationsmay hand outapprovcd written matcrials
        atpresentations.and written orclectronic materialsmay bcdistributcd nationally ifapproved by
        ICE'  'DRO .Legalassistantsmay make rightsprcsentationsprovidcd they havea letterindicating that
        rightspresentationsarcbcing condtlctcd tlndcrthcstlpcrvision ofan attorncy. Pcoplc'              vvho wish to makc
       prescntationsshotlld stlbm it1written requestto the IC E'DRO Field (lfticc Direetor. and send aeopy of
       thereqtlestto I('E (-hie1-('tltlnsel.3()daysbetbre thetlatet)fthcpresentation. Approvr
                          .   -     -
                                                                                                         ed intbnnatitlnal
       postcrsannouncing lcgalrightsprcsentations1nt1stbc tlisplayedclearly in hotlsing ttnitstttleast48 hotlrs
       pritlrt( .)the presentationand thc htltlsing unitofficershallprov'       ide:1sign-tlp sheettbrthe eN'entatleast4:
                                                                                .

       lzkptlrspriorto the prtcsenta:ion. Atteasttlne hotlroftlnintct      -rupted tilxAeshoultlbt'tgranted foreatrh rights
       prescntatitln.1(-l c'DR()antl11111t)l'    ticialsIllaytlbsel
                                                                  a'eltntll'
                                                                           nonitorthepresentations. btltk'annotintcrrtlpl.
       Prescntersshallbe pernlitts     cd ($1llleetw ith snlallgroupsk'
                                         .                              it-detttinecs follt3vving aprcsenlatitln. and
       I(-1-
         .   'I)R()tlntlt'
             .           at-iIity stall'sllltllntltbcprcsenttluring these Illectings.

                                      LAW LIBRARIES AND LEGAL SIATERIALS
                                  ICE'
                                     ,Perform anee Basœd NationalDetention Standard 36
                     HoursofAcct'ss;
        IAetaineesInustbc pcnnitted actressto the Iaw Iibrary lbral1:11stlivehourspcrweek- and lzlay notbtt
       l'tlrccd to spend any part()1-thcirm ininatlln recrcatitlntilneto tlse the Iaw library. -I-l)esalne Clccess111t1stbe
       Inrt)$itled tt)kletaintlcsi11segrtlglltitln. tlnIesstr
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          lllail.In SPCSand f-DFSallgeneralcorrcspondcnceand otherluaillnustbe inspcctcd when thetlctaincc
          isprcsent.                            '

                     B. Outgoing llaily
         Outgoingspecialcorrcspondenceandlcgalmailmustnotbeopened. inspcctcd,orread.Special
         CorrespondenceorLcgalM ailmustbeclcarly marked assuch to rcceive protections. Outgoing general
         correspondenceand otherm ailmay bc inspccted in thepresenceofthedctaincciftheaddrcssee isanother
         dctaineeorifthcrcisrcason tobelicvethe item m ightprcscntathreatto thc facility'ssecurity. endangcr
         therccipicntorpublic,orm ightfacilitatecrim inalactivity. Outgoing m ailshallbe deliveredto the postal.
         servicc no laterthan the day atàcritisrcceivcd by thc t-acility stafforplaccd by the detainee in a
         designated m aildepository,excluding weekendsand holidays.

                C. RejeetionofM ail.
         lncomingandoutgoingrnailmaybercjectedtoprotcctthesecurityoftheinstitution,toprotcctthepublics
         orto detercrim inalactivity.80th the scnderand addrcssccwillreccive awritten notice, with an
         explanation and thesignatureofthe authorizingofficial.when mailiscontiscatedorwithhcld (in whole
         orpart).Dctaineesshallrcceivcareceiptforthe contiscated itemts).
                    D. Postage A llow ance.
        lndigentdetainccswillbe permitted to mailatleasttive (5)piecesofspecialcorrcspondenceorlegal
        m ail.and three (3)piecesofgeneralcorrespondence each week atgovem mentexpense.Thetàcility will
        gcnerally notlimitthcamountofcorrespondencedetaineesmay send attheirown expensek

                   E. W riting Supplie:
        Thctàcility shallsupply writing papcr,writing im plem ents, andcnvelopesatno costto thedetainees.

                   F. Facsimile (Fax)Com m unications
        I1-tilnely colnlntlnication isnotptlssible through thc nnail- the facility adluinistratorl
                                                                                                 '
                                                                                                 nay :pllow forslllne
        c'ol
           nlmtlniklation w ilh adetainee'sIegalrcprescntativesby fax m achine.

                                                 CLASSIFICATIO N SYSTEM
                                    ICE Perform ance Based NationalDetention Standard 5
         A 11facilitiesshallensurc thattletaineesarchoused according to thcirclassitseatioh levcl. .'Lex.'ell-'
        classilication may incltlde detainecsw ith minorcrim inalrccordsand nonviolcnttklonies. butm ay not
        incltlde detaineeswith a fcIony conv'iction thatinclutlcd an actot'physicalN'illlencc- oran aggrav'  ated
        tblony conviction.LevclI      'Detainees may notbchoused with Ltlvel3 Detainecs. '*Le.vel2''classilicatio/
        Izzay notinclude detainccswhose mostreccntconviction wasforany oftknse in thc highestscverity
        catcgory.including assaulting any person orthreatening bodily harm . and may notincludedctainccswith
        a history ofviolcntassaults- whctherconvicted ornot.Underno circtllustanceswilla LeNel2 tlctainee
        &s.
          'ith a histlll-y'ofassaulti:e oru'
                                           t'mbatiq'
                                                   e behaN.iorbeplaced in a Lev'elIhousing ttnit. ''LeN'el3'*
        classitication detainecsareconsidcred high-risk,requiring medium to maximum -security housing. A 11
        facilitiesshallhave proccdtlrcsby whichnew al      nivalscan appealthcirclassitication Icvel. 'I-he Dctainee
        Handbook shallincltldean cxplanation ofthe classitication levelsand the proceduresby which dctainees
       lnay appealtheirclassitication.

                                                     G R lEVAN
                                                             'C E SY ST EM
                                     IC E Perform ançe Based NationalDetention Standard 35
       Each t- aciIity lntlstdevelllp standard tlperating pnlccduresthataddressdelainecgricvances. illcltltlillg
       ell-lergtllltry ttlltlltlctlit-lllgrieqzances.and I'    nustguarantec againstklny retaliatitpn. ,.ï11i1,    1j-
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          lllannerthey tàndcrstand,Detaincesl'    nustalso be givcn in ' writing lhe nal-ne. atltlress.and phonenunlberot-
          thc facility to Nvhit!h they are being transfcrred. IC E Intlstinlbrln tletainecsthatitistheirresponsibiIily to
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           lotify falmiIy Inel
                             -nberso1-thetranstbr. Transfersare neverallou'     ed forretaliatol-y purposes.

                  B. sledicalProcedurt!sand lnform ation Rcquirt!d forTransfer
         Thefacility heallh eare prtlsitleru'i11begiNcn stlfticientadsb  ance notice priortt)1hetransfcrinorderto
         accolnmodateany lnedicalneeds('t     -the tletainee, The scntling facility-slnedicalstaffwillpreparc a
         transferstllnlnary to actrtlmpany thedetainee.-  l-he nacditralprov'
                                                                            iderInustensurelhatalItlIientluedical
         recordsand atIcastseven daysot-lmcdication (l5daysfortuberculosis(TB)Iuedication)accon-tpany thc
         detainccl-îkzc PBNDS Standard 22.NledicalCare- jV.S.ContinuityofCare).Ntln-mcdicalstaffmtlst
         undcrstand thatmedicalintbrmation ison anced-to-know'basisand lnustprotectthe privacy ofthe
         dctaince-sInedicalintbrmation to thegrcatestcxtentpossiblc. (s-     t/t;
                                                                                zPBN DS Standard 22.N' ledicalf-arej
         U .4.Conlidentiality and Rclease of5  oledicalRccords). Transporting ofticerswiIIbe giN'en instructions
         and l'
              ncdieationsforthe tletainee-searcduring transit.

                       Property
         D etaineesshotlldbcgiven the tbllowing materialsto keep in theirpossession tluring transtkr(tlnlessthesc
         itemsposea security riskl::111Iegalmatcrials. cash.small&altlables.addressbooks. corrcspondcnce.
         dentures.prescription glasses.smallreligiousitems. photos,and sim ilarsmallproperty. lfthe reeeiving
         l-
          acility w illnotaeccptIargcrorexcessitcm s. thc detaineeInay havethem shipped to an addressoftheir
         choosing.Ifthe dctaince cannotafford postage. thesending facility willpay forshipping. Ifthereisno
         addressto ship thclargeitcmsto thcn thesending facility muststore thcproperty.

                       D . PhoneC alls

         A fternotiticationoftranstkr, tlctainecsare normally notallowed to make orreceivc phonecalls until
        reaching the new liw ility.Indigentdctaineeswillbe perm itted to m akeonedomcsticphone callat
        goq' crnmentexpense uponarrivalatthe tinaldestination.Non-indigentdetaineesshallhavcaccessto
        lnakcphone callsattheirtlwnexpensc in accordance with the Telephone AccessDetcntion Standard.

                    E. Food and W att!r D uring 'rransfer
        Food and waterwillbc provided dtlring any transtkr. Food tbrany transtbrthatis longerthan six hours
        w illbeprovitled inaccordancew ith the --M ea1s**section ofthe PBNDS Standard 3---rransportation (By
        Lal1d/.'-Ifthetransfkreccursdtlring a scheduled meal. the detaineeshallbe provided with thatmeal
        during the transfer.

                                              5'
                                               IEDICAL C.   .
                                                            NRE AN D H IJNG ER STRIKES
                                   ICE Perform ance Bast!d NationalDtltention Standard 22 & 2l
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                        Involuntary Use ofPsythotropic sledicine

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                                       n tlfpsychotropic lnetlicalionst(àdetaincesshallctllnply Nvith established
         gttiklclinesand applicable lau'sand shallonly bt'    tpertbrluctlptlrsuantto the spccitic- Nvrittcn antltletailctl
         :.
          1uthorization ofa physician.
                                                   R EC REA TIO N
                                IC'E Perform ance Based NationalDttention Standard 29
                   A. Requirem tlnts
        Detaineesshould be plactld in L'cilitiesthatprovr itle outdoorrecrcation.Ifthc facilitydocsnothas'    c an
        otltdoorarea.a Iargc recreation room with exerciseequipmcntand accessto stlnlightwillbc providcd. A
        t-acility lacking any rccrcation area may only be used inexceptionalcirculnstancesto provideshort-tcnu
        housing fordetainces.Ifotltdoorrccreation isnotavailable.adctainecwillbeeligible tbraN'          oluntary
        transfcrto a facility providing outdoorrecreation aftersix months.Ifncitherindoornoroutdoorrecrcalion
        is available.a detaineewillbceligiblc fora s' oltlntary transtkrto a facility providing recreation after45
        days.

                   B. Schedule
         Hach detaineeshallhavcaccessto outdoort)rintloorrccrcation tbratleast(lne hotlrdaily. In SP(7sand
        C-DFS.detaineeswillhaveaccessto outdoorrecrcation cvery day.including wcekends. Detaineesl'          nay not
        be tbrccd to m issbasic law Iibrary privileges tbrrecreation priq'ilcges. Detaineesin segregation forcithcr
        adlninistrativeordisciplinary ptll-posesm ustrecciN'e recrcation.outside theirccll. separate from thc
        gencralpopulation foronehourcach day,atleasttivcdays awcek.Detainces in segrcgation can only be
        denied acccssto recreation afterwritten authorizatitln from the facility administratorthatthey poscan
        tlnrcasonablerisk,cven w hen reereating alone.A detainee in Disciplinary Segregation may tcm porarily
        loscrecreation privilegesupon a tlisciplinae panel-sw rittendeterm ination thathe orsheposesan
       tlnreasonable riskto the l'
                                 ntcility.himselforhcrscltlortlthers.
                                 t

                                                   RELIG IO US PRACTICES
                                     IC E Ptrform ance Based NationalD etention Standard 30
        D etainccsareto beprovided reasonable opportunitiesto pal-ticipatein rcligiouspracticesthatarc declncd
       essentialby theirfaith.Religiotlsheadw earisperm ittcd in SPCSand (--DFSSincluding kutis,yanuulkes.
       ttlrbans.crowns,headbands,and headscarves.Detaincesshallhavc acces-s-to person-     alreligioux propcrty;
       religiousproperty includcsbutisnotlilnited to prayct-beads. rosarics,oils.praycrrugs.phylactcrics.
       l'
        nedicine pouchcs.and rcligiousImedallions.Each tilcility w illacetllnlnodatcreligiotlsand dietary
       reqtlirementsot-detainecswithin reason.including fasting.restrictcd diets. modilied I ucntls.and
       providing mealsattlnusualhotlrs.

                                        N'III-LIN'I-.NRY V 'O RK PRO G RA SI
                      (lptrationsslanualIC E NationalPerform ancc Bast!d D ettntion Standard 33
       1-'N.tlry t' llcility $.
                              5.Ith :1lvtprk'prllgraln U iIIprtpv.itletletaintpesï$'116)Cll- e ph#sitlllllyand l' nentally Ctble tt)wtlrk
       tl'
         le klpptlrttlnity to u'     tprk'and earn l'ntllley. yvtpl'k'êlssignluentsu'l11depend on thedetainee-sclassiticatilln
       les$21.I-klNel3 tletaineesu i11l1()tbe giN.en u'lll          -k t'pptlrtunities('tltsitletheirhkptlsing IiNing tlnits. and l' lt'
                                                                                                                                       p
       l()-I-'detaineetk.1nt:Itttling Lev'elland 2 tlttaincesll'            lay'NNtprk't'utsidcthc sccured pcrinpctert't-thc facility.
       I'lelainees i1)SPf'skàntl(-I3Fsï$'illnt'tbe pcrl,            nittetlti1ïîrtprk'nlllrclhan eightllotlrs11tlay. 4()lltlursCtNs'   etrk'.
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                                               SEZNRCHES OF DET.NINEES
                                  IC E Perform ance Based NationalDtttention Standard 13
                     .&. St
                          larch ofDetainee Housing and W ork Areas

          Staffl'nay rotltincly search thedetainee hotlsing and work'ing arcaswithotltnotik'c. lIoweqer.staff111t1st
          kttep written docum entation ofal1searchesand providc thetletaineew ith areceiptforany pnlperty thatis
          tak'en during :1housing scarch.

                     B. Body Searches01.
                                       -Dttainees

          Staffm ay condtlctapatsearch.which tloesnotrequirethe detainee to remove clothing. on aroutincor
         random basis.Staffshallnotconductroutine strip searchcs.Strip searches. which are a N'isualinspection
         ofallbody surtlacesthatf'
                                 equiresthc removalofclothing, can only beconductcd ifthere isreasonable
         suspicion thatcontraband may beeoncealed on the person.Reasonable suspicion ismorethan astaff
         person'shtlnch.During astrip search,the inspectorshotlld rcfrain from touching the detainces and
         searchesshallbc madc in a mannerdesigned to assurc asl'  ntleh privacy aspossible.Only an inspectorof
         thcsam egenderasthetlctaincecan eondtlctastrip searchsunlessthere isan emergency. In em ergency
         casesrequiring oppositegcndcrinspectors there 111t1stbe twk)staffmembers present. Body cavity searehes
         areonly allowed undcrrcasonablestlspicion.Bodycavity scarchesmustbecondtlctetlby medical
         pcrsonneland ean only becondtlctcd by a person ofthe sam cgendcr.M   ' ore intrusiveprocedtlrcsusing
         l'
          najormcdicalinstrtllnentseanonlybecontltlctcdtbrlncdicalreasonswithdctainee-sconscnt.Body
         cavity searchcsusing morcthan tingersorsimple instrumentsare notallowed. Forbothstrip searchesand
         body cavity searches.staffm ustlirstattem pta lessintrusive search.

                    C . swD rl'Ct!ll'*Status

        Facility administratorsmay calltbra tletainee tobe placcd in arldom orccllforclose obscrvation. callctla
        --dry cell.'*ifthere isreasonablestlspicion thatthe detaince ingested orconcealedcontraband. Detainees
        shallbe advised ofthe reasonstklrbcing placed in dry cclland informed ofhow to rcqtlestneccssal' y
        itcms.Detainecsin tlry celllnustbc provided accessto water. tclephone.legalmatcrials.personalmail.
        and hygiene protluets.Thedetaincc mtlstbe served rcgularmealsand cannotbc given laxatives. other
        thannaturaloncssuchascoftbeorpruncjuiu'e.A personofthesamcgendermustconducttlbscrvation.
       and lnedicalstaffmustmthnitorthe detainec'smedicaland mcntalhealth status. TheAdm inistrative
       Segregation rcview ofticialmtlstrcview the statusofadetainectlndercloseobservation foraslong as
       threcdays.Kccping a dctainecin tlry celltbrovcrscqrcn daygrcqtlircspriorapprovàlby thc lltcility
       administratorantlmedicalstaff.

                            NEXFA L .NBUSE .NND ASSAU LT PREN'ENTIO N .&N D lNTERNFENTION
                                          1f'E Perform anctlBast!d NationalDetention Standard 14
        -l-htrL!nited Stateshasazert)ttllerance stantlard regarding lnlpe and sextlalassatllt1n any and alItletcntion
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                                           LIST O F FREE LEG A L SERV IC ES PRO V ID ERS
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  llcomeindividuals.
  M IA M I,FLO RIDA
  AM ERICAN FRIEN DS ISIM IG RANT SERVICES
  l1lN .E.lstStreet.3rd Floor                                                 ALM A C.DEFILLO,ESQ .
                                                                              929 Peninsular Place
  Nliam i.Florida 33132                                                       Jacksonvill
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  'I-elephone:(305)600-544l                                                   (904)354-3778
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                         ni/                                                      * W illrepresentaliensinasylum cases.
                                                                                  * W illrepresentpermanentresidentswith criminal
         *    Creole.Frenchand Spanish Spoken.                                      convictions.
         *    W illnotrepresentdetained aliens.                                   @ M ay chargeanom inalfee.
                                                                                  . W illrepresentaliens in detention.
                                                                                  * Telephonicconsultationavailable.
                                                                                  * Spanishand Portuguesespoken.

 CA TH O LIC C HARITIES LEG AL SERVICES
                                                                             FLORIDA EQUAL JUSTICE CENTER.INC                             .
 AR CHD IO CESE O F M IAM I,INC .                                            3210C leveland Avenue, Ste.I01-A
 TheBank ofAm ericaBuilding                                                  Ft.M eyerspFL 3390l
 3661W estOakland Park Blvd., Ste.305
 FortLauderdale.FL 333I1                                                     (239)277-7060
                                                                             (239)277-9050,Fax
(954)486-2070                                                                l-800-5l8-I7l6.tollfree
(954)486-5090.Fax
                                                                                       Spanishspoken.
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                                                                                       W illnotrepresentdetained aliens.
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                                                                                 @     Courtrepresentation lim ited to M iam iIm m igration
     *       Representation is lim ited to M iam ilm m igration Cotlrt.
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     *       Representation toresidentsofM iam i-Dadeand Brow ardCounties              SIJ.U ad T visas.and fam ily cases involving Iarge
       (priority givento Broward Countyresidents).                           numbersofchildren).
       CreolepSpanish.and French spoken.                                 @ Representationto residentsofLee, Hendry.G lades.
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       proceedings.
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        *    Representation lim itedto M iam ilm m igration Court.
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             Counties.                                                                        Spanish spoken.
        *    Creole.Spanish,and French spoken.                                                W illtakeA sylum cases.
        .    AlItypesofcasesaccepted, including asylum proceedings.                           May chargea nom inalfee.
  CATH O LIC CHAR ITIES LEGA L SERVIC ES                                        RICHARD LOISEAC,ESQ.
  AR CH DIO CESE OF M IA M I,IN C.                                              7680 UniversalBlvd..Ste.660
  900 54th Street                                                               O rlando.FL 32819
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                                                                                1-888-685-7424.TollFree
                                                                                Email:RLG LO BAL// AO L.CO M

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 CATH O LIC CHAR ITIES LEGA L SERVICES
                                                                               SM AHANE NAANAA NAGHOUY ESQ.
 AR CH DIO CESE O F M IAM I,INC.                                               11NE lstStreet3rd Floor
 370 SW 3rdStreet                                                              M iam i,Florida33I32
 Boca Raton.FL 33432
                                                                               (305)600-50l8
 (56l)394-6352                                                                 (366)847-9805(fax)
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 AR CHD IO CESE O F M IAM I.INC .                                              ELIZABETH RICCI.ESQ.
 1lllS.FederalIlwy.Ste.2l6                                                    Rambana& Ricci.P.A.
 Stuart,FL 34995                                                              52 1EastTennessee Street
                                                                              Tallahassee.FL 32308
(772)283-054l
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                                                                             (302)407-9397
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           Creole.French,and Spanish spoken.
      *    ïVillNO T representaliens in detention. W illtakeasyltlm cases.
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CO LO M BIAN AM ERICAN NATIO NAL CO ALITIO N , INC.                          SIM ON TSANG.ESQ.
(CANCO)                                                                      3837N orthdale Blvd..Ste.302
809 SW 8th St.                                                               Tam pa.FL 33624
Suite 212
M iam i,FL 33l30-3748                                                        (8l3)265-8l52;(727)547-6097
(786)346-3828                                                                       W illtake Asylum cases.
(786)346-3828,Fax
     *     Spanish Spoken.
COLOM BIAN AM ERICAN SERVICE ASSOCIATION (CASA)
CA SA
7925 NW 12 St
Suite 4l4
M iam i,FL 33126

Tel:(305)463-7468,ext.I0l
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                                             DETAINEENIANUAL

                 SICK CALL

                 In order lo provide continuous mcdicalcare, Sick Callisprovided to all
                 detainees,including dctainces houscd in Scgregation. Ifyou are iIIornced
                 medicalattention thatisno'tofan urgcntnaturc. you mustsign up forSick
                 Call. Sick Callslips arc available in each housing unit. Your complcted
                 Sick Call form must bc deposited in thc Sick Call box located in the
                 cafetcria.            e

                 Generally,lhe medicalstaffwillsecyou within 24 hours. Ifyou bccome ill
                 beforcthistime notify yourhousing unitom cer, who willcontacttheon-call
                 medicalsta/.


                 BARBERING SERVICES
                Freebarbcring serviccswillbeavailablein the BarberShop. BarberShop is
                open l-
                      rom M onday thru Friday (8:00 A.M . thru4:00P.M .).Haircutting will
                beavailable asscbeduled wetkly. Eachhousing unitwillhaveaschcdule
                posled.

                 Specialrequestsforhaircutsare NOT grantcd duetolimercslraintsin the
                 facility.


                DETAINEE REOUEST FORM S (G ENERALI
                In order to assist you with qucstions. requesls. concem s. or other
                informalion you needed from the slaft youmay utilizetheDetaincc Requcst
                Form.which is available in your housing unil. Oncc compleled.place thc
                form in thc mailslotdesignaled forthalpumose (located in thc cafcteria).
                Toqrcparcawritten request,adetaineemayobtainassistancefrom another
                dctalncc.the housing omccr.orolherfacility stafrand may sealthe rcquesl
                in an envclope that is clearly addrcsscd with namc. titlc.and/or om ce to
                which thercqugstisto be fonvarded.
                Ordinarily,lhe appropriate departmcntwillrcspond within thrce busincss
                days.


                Rçvised
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        Pedro CortesRodriguez, Jr.
        IN M # 24404308
        A lien# 099621606
        K rom e SPC
        18201SW 12tbStreet
        M iami,FL 33194


        R e: A pplication for Assistance - Im m igration

        DearM r.Rodriguez:
       Thank you foryourapplication to otlrom ce tbrassistance withyotzrpending im m igration cmse
       Unlbrtunately,ouroffice isunable to provide assistance forthose imm igrantscurrently detained
                                                                                                   .
       or in removalproceedings.

       You ma:rwantto conuctn e Florida BarReferralService at 1- 800-342-8060 fora retkrralto a
       privateadorney(bestzretoaskfortheIow tkepanel)orcheck theyellow pagesofthephonebook
       under tiattonaeys.''

       Iw ish ykiuthe bestofluck in thefuttlre. and hopethatyoursituationisresolvedto yoursatisfaction
                                                                                                                 .


       SincereIy
               .,



       St,
         all-A ttoreey




             United
               WayI
             Il/nited W a#
              lfCentralFlorlda
                                          F50 EASC OAVIDSON STREET, OAR rOW ,FL 351830
                                          FEL.(363)5l9-5663 * FAX (863)519-5674
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                                              3RD DISTRICT COURT -
                                             SALT LA                SALT LAKE
                                                    KE COUNTY , STATE OF UTAH
                                             STATE OF UTAH vs .
                                                                   PEDRO RODRIGUEZ
   CASE NUMBER 051906139 St
                           ate Felony

  CHARGES
                Charge 1 - 58-37 -
                                   8(2A1)
                CONTROLLED SUBSTANCE   2nd -DATTEMPTED ILLEGAL POSS/USE OF
                Misdemeanor                                egree Felony (amended) to Class A
               Offense Date : September 02
                   Plea                    , 2005
                   Di : August 17 , 2006 Not Guilty
                     sposition : August 21 , 2006 Guilty

  CURRENT ASSIGNED JUDGE
           JUDITH S ATHERTON
 PARTIES

              Defendant - PEDRO RODRIGUEZ
              Represented by : RALPH DELLAPIA
                                                              NA
             Plain tiff              STATE OF UTAH
D EFENDANT INFORMATION

          Defendant Name : PEDRO RODRIGU
          Offense t                       EZ
                    racking number : 16594897
          Date o f Birth : May 03 , 1987
          Jail B
                 ooking Number : 0521264
          Law
         LEA C
              Enforcement   Agency : SOUTH SALT LAKE PD
               ase Number : 05-006830
         Prosecuting Agency : SALT LAKE
         Agency Case Number : 05016299 COUNTY
         Sheriff Office Number
                                 : 0291030
ACCOUNT SUMMARY

           TOTAL REVENUE                 Amount D
                                                    ue :       S,000 .00
                                     Amount Paid :             5,000 . 00
                                          Cred it :                0 .00
                                         Balance :                 0 .0 0
           PAPER BOND TOTALS                  P
                                              osted :         G,000 .00
                                          Forfe ited :        5,000 . 00
                                         Exonerated :             0 .00
                                            Balance :             0 .00




        fl a / m o / l a   mm   *a   -   -
      Case 1:13-cv-22020-KMW Document 1 Entered on FLSD Docket 06/05/2013 Page 85 of 107



      CASE NUM BER 051906139 State Felo
                                                         ny


                      REVENUE DETA IL  TYPE : FORF TO STATE
                                    A                        , FELONY
                                     mount Due :        5 , 000 .00
                                 A Amount Paid :        5 , 000.00
                                  moun t Cred it :            0 . 00
                                        Balance :             0 . 00
                     NONMONETARY BOND DETAIL     TYPE
                                                                : Surety
                                                 Posted By: (ACME BAIL OF UTAH, INC) (#PC00576485)
                                                   Posted :      5 , 000 .00
                                                Forfeited :      5 , 000 .00
                                               Exonerated :            0 . 00
                                                  Balance :            0 . 00
  CA SE NOTE
                    DAO 05016299***SPANISH INTERPRETER***
  PROCEEDINGS
 0 9 - 07-05       Case filed
 09-07-05          Filed : From an Informati
 09 - 07-05        Filed : case filed by Deto nM
 09-08 - 05                                      cNaughton-ssLcpD -warrant faxed Jail
                   IN ITIAL A PPEA RANCE scheduled
                   in Arrai                        on September O9, 2005 at 09 :00 AM
09-08-05          Judge ARRAIGNMENT ARRAIGNMENT ARRAIGNMENT .
                            gnment   Jail with Judge
09 -08 -                                            assigned .
         05       Note: Bail $5,000
09-08-05          Judge JUDITH S ATHERTON
                                       .
09 - 08-05        Note : Judge assignment chanassigned .
                                                 ged on criminal filing sdreen due to
09 -                      new process for calendaring roll calls
     09-05        M inute Entry - Minutes for INCOURT
                  Judge :    STEPHEN                     NOTE
                                                ROTH
                PRESENT
                Clerk :          nicolel
                P ro secu tor : BUETHE , LINDA F
                Defendant not present


                Video
                Tape Number :                  Disc 69   Tape Count : 9 :42
           Defendant refused transport
09-09-05 Note : Judge Shauna Grav         .
39 - 09-05 Note : Judge Shauna Graveses-Robertson on the bench for Judge Roth
39 - 09 -05 INIT IAL APPEARANCE sched - Robertson on the bench for Judge R0th
            in Arraignment Jail        uled on September 13 , 2005 at 09:00 AM
)9-13-05 ROLL CALL schedu led on S Judge ARRAIGNMENT .
                                  with
            D                         eptember 22, 2005 at 09 :30 AM     To Be
              eterm ined with Judge ATHERTON
)9-13-05 M inute Entry - M inu tes f         .
            Judge :    L A DEVER
                                      or  Appoin tment   Counsel




  '
t- t.lli.t
         etit   6!</''Jsl/-1-4 no .a o . a n
       Case 1:13-cv-22020-KMW Document 1 Entered on FLSD Docket 06/05/2013 Page 86 of 107



      CAS E NUM BER 051906139 State Felony

                        PRESENT
                        Clerk :   rhondam
                        Prosecutor : CHRISTENSEN , V IRGIN IA O
                        Defendant
                        Interpreter : PRESENT
                       Language : spanish
                       A udio
                       Tape Number:                         Disk 069       Tape Count: 9:22
                       INITIAL APPEARANCE

                      A  copy of the In form ation is given to the defendant .
                      The I
                            nformation is read .
                      A PPOINTMENT OF COUNSEL


                      Court finds the defendant indigent and appoints Salt Lake Legal
                      D efender
                                s to represent the defendant .
                      A ppointed Counsel :
                                      Name : Salt Lake Legal De fenders
                               Address: 424 East 500 South Suite #101
                                  City : Salt Lake City UT 84111
                                    Phone : 532-5444
                     A ffidav it of indigency is to be submitted by the defendant
                     ROLL CALL is scheduled .
                                 Date: 09/22/2005
                           Time : 09 :30 a . m .
                           Location : To Be Determined
                                       Third District Court
                                       450 South State
                      B                Salt Lake City , UT 84111
                        efore Judge : JUDITH S ATHERTON
 09-13-05 Note: Bail remain $5,000
 09-13-05 Note : FILED : A ffidav it of Indigency               Judge Dev er signed and
                             a
                              ppointed LDA to represent defendant in th is case .
 09 - 16 -0 5        Note  : Acme Ba il Bonds No . PC700576485 $5,000 .00 Posted 9-15-05
 09 -16 -05          B
                       ond  Accoun t created
                     Bond Post
                                                    Total Due :       5000 . 00
 09 - 16 -0 5                   ed              Non-Monetary   Bond :        5 , 000 00
 09 - 16 -05         F iled : Appearance of Counsel
                                                     .  Forma l Request for Discovery .
                     Notice of a Bond Hearing .
09-22 -05            M inute Entry     Minutes for Roll
                     Judge      JUD ITH S ATHERTON
                    PR E SENT
                    Clerk :     terryb
                    Prosecuto r : MARTINEZ-GR IFFIN , ANDREA




n-..2 ....=.   .3   e- '
                       a. /e'x a- ; - -   *   -
                                              .   .
 I 111t e''et1 .    4t 3 / A M /' l $. l)%W * c %.I * JIà              O n- n
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           CA SE NU M BER 051906139 State Felony

                          Defendant not present
                          Defendant's Attorney ts); DELLAPIANA , RALPH

                         V ideo
                             Tape Coun t : 11 . 55
                         HEARING

                  Defendant failed to appear . C/O B/W issued for $10
                 and bail forfeiture proceedings        to commence .          , 000 CASH ONLY
      09 -2 2-05 Notice - WARRANT for Case 051906139 ID
      09-2 2 - 05 Warrant ordered on : September 22              6402295
                  Ca                                     , 2005 Warrant Num : 981155499
                     sh Bail On ly
     09 -               Ba il amount :       10000 . 00
          22 -05 Warrant issued on : September 22
                  Ca                                    , 2005 Warrant Num : 981155499
                     sh Bail Only
                        Bail amount :        10000 . 00
                        Judge : JUDITH S A T HERT ON
                        Issue re a son : Failure to Appear
     10 -03 -05 Filed : NOTICE OF DEFT 'S FTA AND ORD .
                 FORFEITURE SEN                             ER TO COMMENCE BOND
                                  T TO SURETY BY CERT . MA IL AND TO PROS
     03 -27 -06 Filed : AFFIDAV IT OF MAILING OF NOTICE                      .
     03 - 27-06 Minute Entry - REQUEST FOR JUDGMENT                    OF DEFT 'S FTA
                        Judge : JUDITH S ATHERTON
                      C lerk : leeannh
                        COPIES OF DOCKET , AFFIDAVIT , ORDER TO CGMMENCE
                      C ERT . OF NOT , BOND , AND PROOF OF CERT           , NOTICE OF FTA ,
                      TO DA TO PREPARE                          . MAILING WITHIN 30 DAYS SENT
                                          JUDGMENT OF FORFEITURE ON THE BOND -
                      POSTED 9/15/05
                                  FTA DA
                                      9/22/05. CERT MAIL 10/3/05 .
                                                            .                            ACME $5000
    03 -30 -06 F iled ; Mo tion FROM     , DAVID WALSH , FOR JUDGMENT OF FORFEITURE
               ON THE BOND -
                                 ACME $5000. REFERRED TO JUDGE ATHERTON WITH ORDER
               A ND SUPPORTING DOCUMENTS
    04-03-06 Filed order : JUDGMENT OF .FORFEITURE
               $5000 . ORIG INAL TO JUDGMENTS            ON THE BOND - ACME BAIL
                                                . COPIES TO SURETY AND PROS .
                            Judge JUD ITH S ATHERTON
    04 -                    S igned April 03 , 2006
    04 - 03-06 Judgment Entered - Amount $5000 . 00
           03-06 Filed judgment: Judgment of Forfeiture QJ
                             Judge JUDITH S ATHERTON
    04 -                     Signed March 30 , 2006
           24 -06 Filed : NOTICE TO PROSECUTOR OF SURETY 'S
                      O F FO R FE ITUR E                                FA ILUR E T O PA Y JU DG MENT
                                  ON THE BOND
04 -24 -06       Fee Account created          .T
04 -24 -06       Bond Forfeited                 otal Due :       5000 . 00
05-05-06         Paper Bond Pay                                          5 ,000 00-

                                  off       Non -Monetary Bond :         5
05-05 -06        FORF TO STATE
05-16-06                        , FELONY
                 F iled : Satisfactio       Non-Monetary Bond :          5 , 000 .00
                                                                          , 000 00
05 -                                  n of Judgment RJ
           17-06 Judgment #1 Modified $ 5000 . 00 Disposition : Satisfied



n .- .' ... = -w =   ex n le.v a z- ..   .
.A.A.A.* L.CCu .     &J % / J*M / l %    Ilk.: * a . kW *       Rn-a
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        CA S E NUM BER 051906139 State Felony


        0J - I 3-0 G Warrant
                          R
                              recalled on : July 13 2006 Warrant num : 981155499
                                                   ,
                            ecall reason : Warrant recalled bec
                          booked .                              ause defendant was
        0J-i3-OG AM
                 DRUG ROLL CALL/BW HRG/JAIL scheduled on July 20, 2006 at 09:30
                    in To Be D
                               etermined w ith Judge FRATTO
       07 - 13-06 Note : Case referred to Roll Call Clerk . Deft booked in ADC
       07 - 2 0-06 DDRUG ROLL CALL scheduled on July 27 , 2006 at 09:30 AM in To . Be
                      etermined with Judge BARRETT
       07 -2 0-06 Minute
                    J
                            Entry - M inutes for Roll
                                                   . Call
                     udge :   JOSEPH C . FRATTO
                  PRESENT
                  C lerk :    terryb
                            Prosecu tor : SHUMAN , JON D
                           D efendant
                           Defendant's Attorney ls): HOWARD FOR DELLAPIANA
                           Interpreter : PRESENT
                          L anguage : SPAN ISH
                          V ideo
                              Tape Count : 12 . 45
                          H EARING

                             Roll call continued to 7/27 so assigned attorney can be
                         D RUG ROLL CA LL is scheduled .                               present .
                               Date : 07/27/2006
                               Time : 09 :30 a .m .
                               Locatïon : To Be Determ ined
                                 Third D istrict Court
                                 450 South State
               B                 Salt Lake City , UT 84111
                 efore Judge : WILLIAM W BARRETT
  07-2 7 -06 DRUG ROLL CALL scheduled on August
              Be Determ ined with Judge REESE             2006 at 09 :30 AM in To
  07-2'7 -06 M inute Fntry - Minutes for Roll. C
              J                                      all
                udge :     L A DEVER
            PR ESENT
            C lerk :       terryb
            P r osecu to r : NELSON , STEPHEN
            De fendant
            De  fendant 's PRESENT ls) DELLAPTANA , RALPH
            Tn terpreter :Attorney

                       La nguage : Spanish
                       Video
                           Tape Count : 11 . 01
                       HEA RING




'%>...I ..... u - -3   ,.s .x ?,-! .. z -   -.
 A..*.àlk.c k.à v U .D / u'Cj / t. j (J</ * 4 % @ '
                                                  #I       D av o
    Case 1:13-cv-22020-KMW Document 1 Entered on FLSD Docket 06/05/2013 Page 89 of 107


   CA SE NUM B ER 051906139 State Felony

                  Roll call continued to 8/3                ATD did not have file .
                 DRUG ROLL CALL is schedu led .
                         Date : 08/03/2006
                     T ime : 09:30 a .m .
                     Location : To Be Determ ined
                                 Third District Court
                                 450 South State
                                 Salt Lake City , UT 84111
                 Before Judge : ROBIN W . REESE
  0 8 -O 3 -0 6 DRUG ROLL CALL schedu led on August       2006 at 09:30 AM in To
                 Be Determ ined with Judge FUCHS .
  0 8 - O 3 -0 6 Minute Entry     Minutes for Roll Call
                 Judge :   ROBIN W . REESE
                PRESENT
                C lerk :    terryb
                P rosecutor : SKINNER , JACEY
                D efendant
                D efendant 's Attorney ls) DELLAPIANA, RALPH
                V ideo
                    Tape Count : off record
               H EARING

                 Roll call continued to 8/17. Defendant has new charges in
               a creening .
               D RUG ROLL CALL is scheduled .
                       Date: 08/17/2006
                Time : 09 :30 a .m .
                Location : To Be Determ ined
                            Third District Cou rt
                            450 Sou th State
                            Salt Lake City , UT 84111
           B efore Judge : DENNIS M FUCHS
 08-17 -06 A PRAIGNMENT schedu led on August 21, 2006 at 08 :30 AM in Fourth
           F loor - S45 w ith Judge ATHERTON .
 08-17 -06 M inute Entry     M inutes for Roll Call
           J udge :  DENNIS M FUCHS
              PR ESENT
              C lerk :    patd
              Prosecutor : VO -DUC , G EO RG E F
              De fendan t
              De fendan t 's Attorney ts)            DELLA PIANA , RALPH
              In terpreter : KATHERINE
             La nguage : SPAN ISH
             V ideo
             Tape Number :       CD               Tape Coun t: 11O91S




D v 1'n p o a . n 4 /o Q /1 7 n a .zln   .   n;
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         CA S E NUN BER 051906139 State Felo
                                                                              ny

                                HEARING

                                     DEFT ADVISED OF RIGHTS .
                                                                               DEFT WAIVES PRELIM INARY HEARING
                               CONSENTS THERETO C/O DEFT BOUND OVER                                               .   STATE
                               CASE BOUNDOVER

                               Defendant Waived preliminary hearing
                               This case is bound over .            , State consenting thereto
                                                                                               .
                                                        An Arraignment hearing has been s
                              8/21/2006
                              ATHERTON
                                        at 8:30 AM in courtroom S45 before Judge JUD ITH Set on
      08 -1 7-06 Note : Case Bound Over
      08 -1 7 -06 Charge 1 Plea is Not Guilty
     08  -
           2 1-OG Filed order : Statement of Defendant In Support of
                    and Certification of Counsel                     Guilty Plea
                               Judge JUDITH s ATHERTON
                               Signed Auguat 21 , 2006
     08 - 2 1 -06 Charge l amended    to Cla
     08 - 2 1-06 Charge 1 Disposition is     ssGA Misdemeanor
     08 - 2 1 -06 Minute Entry - Minutes f uilty
                   J                          or Change of Plea
                     udge :  JUD ITH S ATHERTON
                 PRESENT
                 C lerk :    sunshinb
                 P roaecutor : JOHNSON JOHN K
                 D                     ,
                   efendan t
                          D efendant 's Attorney ts): DELLAPIANA                             RALPH
                                                                                         ,

                          L anguage : Spanish
                          V ideo
                              Tape Count : 9 :20 ::11
                         T he Information is read
                        C curt adv ises defendant .
                                                     of rights and penalties .
                        D e fendan t waives time for se
                        A pre -                          ntence .
                                sentence investigation was ordered .
                        T h e Judge orders Adult Probati
                        report .                           on & Parole to prepare a Pre-sentence
                        Ch ange of Plea Note
                        D e fendant transported     Amended b
                        SENTENCING is sch                     y Interlineation .
                                            eduled .
                                       Date: 10/02/2006
                                       Time : 08 :30 a . m .
                                       Loca tion : Fourth Floor    S45
                                                   Third District Court
                                                   450 South State
                                                                SLC , UT   84114 -1860
          B efore Judge : JUD ITH S ATHERTON
08 -21-06 S ENTENC ING schedul
                               ed on October 02 2006 at 08 30
          F loor    S45 with Judge ATHERTON .  ,                                                             Fourth
09-27 06 F iled : AP&P Present
                                ence Report




3 .v'1 ya @-..n '
   . .
     a.... > v.- x..- q
                       '1 - rn 'a l'n fa / > -. 'h'-*
                      .a .. < . *' # +                  * '-w   ''w -
                                 .   k> t 1 4   !l 'V * * O % X 1
    Case 1:13-cv-22020-KMW Document 1 Entered on FLSD Docket 06/05/2013 Page 91 of 107


     CA S E NUM BER 051906139 State Fe lon
                                          y

     10 O 2-OG Filed : Commitment Faxed to ADC
     10 -02-0 6 Minute Entry   Minutes for SENTENCE
                Judge : JUDITH S                    ? JUDGMENT , COMMITM E
                                          ATHERTON
                   PRESENT
                   Clerk :     kristyj
                   P rosecu tor : JOHNSON , JOHN K
                   Defendant
                   Defendant 's Attorney ts): DELLAPIANA
                   Interpreter                                 ,   RALPH
                                      : Sonia Couillard (Spanish)
                  Language : Spanish
                  V ideo
                      Tape Count : 10 . 03 .37
                  S ENTENCE JA IL
                  B ased on the defendant 's convicti
                  OF CONTROLLED SUBSTANCE            on of ATTEMPTED ILLEGAL POSS/USE
                  s entenced to a te        a Class A Misdemeanor , the defendant is
                                   rm of 365 day ls) The total time suspend
                  this charge is 335 day ts)                                ed for
                 O RDER OF PROBATION               .

                 T he defendant is placed on prob
                                                  ation
                 P robation is to be superv ised by GOOD for
                                                          BEH 36 month ts) .
                                                                     AVIOR PROBATION .
                 Defendant to serve 30 day ls) jail        .


                 P ROBATION CONDIT IONS
               V iolate no laws .
               D e fendan t may be released early to Imm igration
               S e rvices .                                       and Naturalization
               D o not re -enter the          illega lly
               C curt orders Defendantcountry
                                         is to not       .
               u n lawfully . Bench Warrant to issue
                                                   remain
                                                      in thor reenter ehe state
               On ly in 45 days                                     e amount of $25,000 Cash
            D e fendant transported
 12 -29 -06 N otice - WARRANT for .C
 12 -                                  ase 051906139 ID 6835297
      2 9-06 C
             W arrant ordered on : Decembe   r 29, 2006 Warrant Num : 981184114
               ash Bail Only
 12 -               Bail amount         25000 . 00
      29-06 CN arrant issued on : December 29
                                                 , 2006 Warrant Num : 981184114
               ash Bail On ly
                   Bail amount :
                   J                    25000 . 00
                     udge : JUD ITH S ATHERTON
                   Issue reason : Warrant issued to
                   enter                                 ensure defendan t does not
                           country illega lly
10 -19-09 W arrant recalled on : October . l9
                   R                               , 2009 Warrant num : 981184114
                     eca ll reason De fendant comp    lied w ith C
10-19-09 C ase Closed                                             ourt Order
            D isposition Judge is JUDITH S ATHERTON




)v 1n 1 o H ' M 2 7n O /4 a M n     *- G a
 -- ..w w . . o u t u u l x u   wJ .
                                   '* J '
                                        .z Z
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CASE NUM B ER 051906139 State Felony


10 - 1.9-0 9 Minute Entry - TRACKING REPORT
             Judge : JUDITH S . ATHERTON
            JSA/SC     Court orders the INS bench warrant recalled, defendanta
           p robation time is expired , case closed .                                 .
                                                                                      '
12 -0 6 -10 Note : File destroyed pursuant to retention schedule
03 -2 6 -13 Filed order : Letter from Defendant    Copy of Docket , will be
             Forwarded to Defendant . Copies of Letter and attachments will
           be Forwarded to DA and LDA . Note Case Closed 10/19/09.
                       Judge JUD ITH S ATHERTON
                       Signed March 28 , 2013




prinred ; O 3/28/13 09:49 :72             Pace     (last)
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                                  United Statesdepartmentofjustice
                               Executive office of im m igration review
                                     Officeoftheim migrationjudge
                                           Im m igration court
                                      350 south M ain Street,R m # 150
                                          Saltlake city,Utah 84101-2180



               ln the m atterof                                 )    DETAINED ALIEN
               Pedro Cortes                                     )    File#
               Respondent                                       )    REM OVAL PROCEEDINGS
                                                                )    AN AUTOM ATIC STAY APPLIES


                       EM ERGENCY M OTION TO REO PEN & AUTO M ATIC STAY O F
                                         D EPO RTA TIO N
                      Comesno% Respondent.Mr.ClarkOrange(I
                                                         lerein''Clark'')IN PROSE ,and
                    Respectfully requcstthiscourtto reopen the instantmatterand submitsasfollows:

                1. OnJune2008PedroCortesRodriguesJR. wasOrdered deported in absentia.W hen acourt
                  Issuesan in absentiaorderofremovaland a motiontoreopen ist  iled. an
                  Automatic stay goesin et
                                         -fectandthestay remainsin eftkctpending disposi
                                                                                       tion of
                  'l'heMotiontoreopenbythelmmigrationjudge.INA 212a06Ai...An immigration
                  Judge..M ay rescind an in absentiaorderofremovalorDeportation's failure to appear
               hearing becauseofexceptionalcircumstances. 1NA 2I2a07Ai& 2l2a06Ai

               2.Mr.Clarkhada noticethattherewasascheduledcourthearing. But.he did not
                 Show up .thereforehewasdeported withouthisknowledge.

               3 Mr Clarkwasincarceratedonthe hcaringdateduringNovember 25th2Ollthrough
                November26th2012atNaplescountyjailandaccusedhim foracrimehedidnot
                 Com mitted even though .thischargeswerenotagainst him.butatthesametime
                 ln thatcharges.M r.Clark had two co-defendersinvolved and wasfound gui
                                                                                      lty
                 Ofthecrime.ThereforeM r.Clark wentto thetrailand beatthischargeduring,
                 whentheimmigrationjudgktorderedhim deported(note:
                 because M r.clark being incarcerated , hefailed to appearathisimmigration hearing
                  resulting in him,being orderdeported.
                 Thiswasnothisfault.ThereforeM r. Clark would likeZiscase to be re-open.
                 (BecauseofM r.Clarkcurrentconditionhisispreclucledfrom obtainingevidence
                 -
                 roprovethathewasinjailthatdaymarch 15t h20l2,otherwiseheshould'veshow
                 Up in court



               Page 1of3                                                     Clark O range A#079-398-528


                                                                                       Clark Orange
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                                                                                         A//079-398-528
                  4.Mr,Clarkwasnotrepresentedby counselwhenhe wasordereddem rtedbythe
                   lmmigration Judge therefore denyinghim theeftkctive assistanceofexpert counsel
                   During hisdeportation proceedings:
                 s.unknownto M r.clark thisdeportation orderhasbecn in eft kct in effectsince
                   OnMarch 15th2012whcnhewasordereddeported in absentia;
                 6.Mr.clarkwantstoexercisehisrightasguaranteedbytheConstitutionofthe
                   United Statesto due proctssand equalprotection ofthe law oftheland'
                                                                                     ,

                 7.MrClark now wantstobegiventheopport
                                                     unity bythisCourttoarguehiscase
                   Genuinelyande:kctivelywiththeeffectiveassistanueofanexpertlawyer in
                   Immigration law andprocedures;
                 8.Mr.clarkdidnot.nordoesunklerstandthecomplexuniquenatureofexclusion
                 And removalimmigrationstatusmuch ltssthcdireimmigration consequencesof
                  Perhapsbeing permanently removed from theUnited Statesin perpdualexileaway
                  From hisimmediatefam ily membersand thecommunity wherehe haslived forthc iseligibleto apply for
                 .,VCjjk.
                 f      tj-jx
                            rOm


                 9.M r Pass10 ,yearssince July ,2001. Clark rem oval,ifhiscase isreopened.''


                 W HEREFORE,inthebestinterestofjusticeandfairness,M r.Clark praysforthe
                 reasonsstated above,thatthe imm igration Judge:
                 1.GR ANT hism otion to reopen;
                 2.GR ANT an automatic stay ofdeportation;
                 3.Schedule abond hearing date,atwhich evidence may be offered concerning thefactual
                 allegationsthatw illbe setforth related to thenature ofhisoffense;and
                 4.A llow him to dealgenuinely and effectively w iththe disputed materialfactsw ith the
                 effective assistance ofan expertim m igration lawyer.

                 RESPECTFULLY SUBM ITTED on this30 day ofNovem ber2012



                                            Page2 of3



                                                                          Clark O range A# 079-398-528
         M r.Clark Orangein pro se
        A lien # 079-398-528
        Krom e S.P.C.
Case 1:13-cv-22020-KMW Document 1 Entered on FLSD Docket 06/05/2013 Page 95 of 107



        1820lS.W .l2 St.
        Nliam iFlirida 33194




                                          CERTIFICATE O F SERVICE




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        krome S.P.C.properly addressed to the;




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        333 South M iam iAve.Ste.700
        M iam i,Florida 33130




        By Clark Orangeln pro se


        CC :Deportation Officer
            PersonalLegalFile


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                                                 Page 3 of3

                                                              Clark Orange A# 079-398-528
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                 Case 1:13-cv-22020-KMWO <..Document 1 Entered on FLSD Docket 06/05/2013 Page 96 of 107
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Case 1:13-cv-22020-KMW Document 1 Entered on FLSD Docket 06/05/2013 Page 97 of 107

               Case 4:10-cr-03817-CKJ-DTF Docum ent40 Fil
                                                        ed 04/20/12 Page 1 of1




                                      IN 'l3IE LN TED STATES DISTRICT COURT
                                         FOR THE DISTRICT OF ARIZONA
         United StatesofAm erica,
                                                    )       NO. CR 10-3817-TU C-CKJ
                         Plaintiff,                 )
                                                                              O R D ER
               vs.
                                                    ?
                                                    )
                                                                 DISIH SSENG O ICTM EN T
        Pedro Cortes-Rodriguez,                     )
                                      Jr.,          )
                         Defendant.

               The Courthasreviewed theGovern
                                               m ent'sM otion forDism issalofthe Indictm ent
        againsttheDefendr t, Pedro Cortes-Rodriguez
                                                   , Jr.
                                                       ,and good causeappearing, therefore,
              IT IS ORDERED GRANTW G theM oti
                                                        onforDismissal(Doc.37).
              IT IS FURTHER ORDERED theIndi
                                          c% entasto theD efendantisdism issed without
       Prejudice.
             DATED this 19thday ofApril, 2012.



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                                                    C indy K .J wnso
                                                U nited States lstrictJudge


      U .S.M arshal'sService
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Case 1:13-cv-22020-KMW Document 1 Entered on FLSD Docket 06/05/2013 Page 98 of 107
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                              DISTRICT OF ARIZONA (Tucson Division)
                 CR IM TN AI,DOCKET FOR CASE #:4:10-cr-03814-CK J-DTF-1


       ase title:USA v.Cortes-Rodriguez                                 DateFîled:12/29/2010
        agistatejudgecasenllmber:4:10-mj-05680-BPV -DTF             DateTerminated'
                                                                                  :04/20/2012

       ssigned to:Judge Cindy K Jorgenson
       eferred to:M agistrate Judge D
       hom as Ferraro

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       edro C ortes-R odriguez,Jr.               represented by R obee Louis M urray
       ERM INA TED '04/20/2012                                  Law Offce ofR obertL M urray
      lso iw cpw n as                                           2730 E Broadw ay B lvd
       edro C ortez                                             Ste 230
      ERM INA TED :04/20/2012                                   Tucson,A Z 85715
      lso kntpwn as                                             520-320-5045
      edro Cortes-Rodriguez                                         $'ax:520-320-5043
      ERMINATED:04/20/2012                                          Email:vatovato888@yahoo.gorp
      1so i'n/wn as                                                 .drftlr â'r TO BE N OTICED t
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      edro Cortez-Rodriguez                                         Designation:CJA Appointment ;
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                                                                Thom as G H ippert
                                                                Law O x ces of Thom as G H ippertPC
                                                                110 S Church A ve
                                                                Suite 7185
                                                                Tucson,A Z 85701
                                                                520-622-0926
                                                                Fax:520-622-7338
                                                                Email:tgh@ r bar.org
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                                                                A 7v-oz/v.sY TO BE N O TICED
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                                                                            .CJA Appointm ent

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     ntry AfterDeportation                                     Dismissed withoutprejudice
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Case CM /ECF -azd
     1:13-cv-22020-KMW                                                      P 107' p
                       Document 1 Entered on FLSD Docket 06/05/2013 Page 99 ofage 3 of .
                                                                                       6.


      12/01/2010      a z M inuteEntry forproceedingsheld before M agistrate Judge Bernardo P
                            Velasco:InitialAppearance W ithoutCounselasto Pedro Cortez held on
                            12/1/2010.Interpreter SPA NISH as to dft. D efendantstatestrue nam e to be
                            PED RO COR TEZ-RO DR IGU EZ . Detention Hearing setfor 12/3/2010
                            10:30 A M before M agistrate Judge Bernardo P V elasco. Prelim inary
                            H earing setfor 12/3/2010 10:30 A M before M agistrate Judge Bernardo P
                            Velaseo.tcourtReporterCOURTSM ART).(SVB)g4:10-mj-05680-BPV
                            DTFq(Entered:12/02/2010)
      12/03/2010            M inute Entry forproceedings held before M agistrate Judge Bernardo P
                            Velasco:Attorney Appointm ent/Detention Hearing asto Pedro Cortez     -

                            Rodriguez held on 12/3/2010. Prelim inary H earing w aived. Appointing
                            Ryan Philip D eloe tbr U SA , ThomasG Hippert(CJA)fordfl.ORDERED
                            U SSG Reportbe prepared tbr dft. tcourtReport   erCOURTSMART).(CLJ)
                         (4:10-mj-05680-BI+V -DTFI(Entered:12/06/2010)
     12/07/2010      1 4 ORDER OF DETENTION astoPedroCortezR odriguez.Signed by
                                                                          -

                         M agistrate Judge Bernardo P V elasco on 12/3/10 (CLJ)L4:10-mj-05680-
                         BPV                                                  .

                               DTFI(Entered:12/07/2010)
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     12/07/2010      a 1 ORDER asto Pedro Cortez-Rodriguez:Probation Oftscepreparea
                            Prelim inary U SSG Reportwithin forty-five days. Signed by M agistrate
                            JudgeBernardo P Velasco on 12/3/10.(CLJ)g4:l0-mj-05680-BPV -DTFI
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                              ntered:12/07/2010)
     12/29/2010      a: I
                        AN D ICTM EN T asto Pedro Cortes-Rodriguez, Jr(1)countts)1.
                             rraignm entsetfor1/14/2011 11:00 AM beforeM agistrateJudgeBelmardo
                           PVelasco.(ADI-BAC,)(Entered:12/30/2010)
     12/29/2010       1 7 ***N OTICE asto Pedro Cortes-Rodriguez, Jr:Counselisadvised asto
                         '
                           ARRAIGNM FNT setfor1/14/2011@ 11:û0AM ,TRIAL dateis3/8/201l
                           @ 9:30AM ,and PLEA DEADLINE is2/25/2011 N O TE:N otice ofIntent
                                                                              .
                           to W aive DefendantsPresenceatAnuignm entshallbe filed no laterthan
                           Tuesday priorto arraignm ent. (ADI-BAC,)(Entered:12/30/2010)
                     1 9 ' M inuteEntry forproceedingsheld before M agistrateJudge GlendaE
                           Edm onds:A nuignm entasto Pedro Cortes-Rodriguez Jr (1)Count1held
                                                                                   .

                           on 1/18/2011.Jury Trialsetfor3/8/2011at9:30 a.m .beforeJudge Cindy K
                           Jorgenson;Plea deadline setfor2/25/2011. PRESEN T:AU SA notpresent;.
                           ThomasG.Hippert;(Appointed).DefendantCUSTODY.INTERPRETER:
                           Ronald Zellon.D efendantentersplea ofN OT GU ILTY . Defendantstates
                           truename isSAM E.llefendantprovided with copy ofindictm ent. Reading
                           waived.M otion H earing D ate:A llpretrialm otions shallbe filed suffieiently
                           in advance oftrialto avoid any delays in the trialpursuantto Llkf rim 47. 1.
                           ltistheresponsibility ofcounselto contactthereferred M agistrateJudgeto
                           schedule a hearing on any m otions requiring oralargum ent.A ny m otion or
                           stipulation to eontinue the scheduled tl-ialdate and change ofplea hearing
                           deadline shallbe filed withthe Clerk oftheCourtno laterthan 5:00 p.m .on
                           theM onday ofthe week priorto the scheduled trialdate.tcourtReporter
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                           docum entassociated with this entry. (GM M)(Entered:01/21/2011)




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Case 1:13-cv-22020-KMW Document 1 Entered on FLSD Docket 06/05/2013 Page 100 P     4 ,
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      '   01/24/20 11    t: LQ Fi
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                               (Hi tMrOTI ON to
                                       t,Thomas)Detenni
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                                                       d:0Compe  tenc
                                                           1/24/201 1)y by Pedro Cortes-ltodriguez,Jr.
          01/28/20l1     an     !ORDER granting LQ M otion to Determ ine Com petency asto Pedro Cortes-
                                                  .

                                E
                                : Rodr iguez Jr.A11hearings/deadlines in thism atterare vacated and stayed
                                 band t
                                      hi sm atteris setforstatusconferencerfor4/8/11 at 11:00 a.m ..Signed
                                   y M agistrate Judge D Thom asFerraro on 01/26/1l. See attached PD F for
                                 com plete inform ation.tKAl-l)(Entered:01/28/201l)
          03/14/201l     k3 t.
                            .4. @
                                'ORDER asto Pedro Cortes-Rodriguez, J1'StatusConferenceresttfor
                                 5/23/2011 11:00 AM in Courtroom 6F, 405 W estCongress Street, Tucson,
                                 AZ 85701before M agistrateJudgeD Thom asFenuro. Signe.d by M agistrate
                                 Judge D Thom as Ferraro on 3/14/11.ISM BE)(Entered:03/14/2011)
      03/28/2011        ao       NOTICE addressedtoJudgedated3/11/11, English and Spanish version by
                                                                                                 ,
                                 Pedro Cortes-Rodriguez, Jr(ALS)(Entered:03/28/2011)
      05/02/2011        J U      Order Returned Executed on 4/5/11 as to Pedro Cortes Rodriguez,Jr(BAC)
                                                                                      -

                                 (Entered:05/09/2011)
      08/05/2011        a>       NOTICE OF ATTORNEY SUBSTITUTION:Amy E Peel'y appearing for
                                                                                     .
                                 U
                                 08SA
                                   /05./A2ttorney Ryan Philip Deloetenuinated tpeely,Amy)(Entered:
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      08/24/2011        xjzy     M
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                                                                     nce by Pedro Cort
                                                                                     es-Rodriguez,Jr.
      08/26/2011         J 30 Onmotionofthedefendantandtherebeingnoobjectionby the
                                 G overnm ent,IT IS ORD ER ED the Com petency H earing setfor 10/3/2011
                                 at 1l:00 A M ,asto Pedro Cortes-lkodriguez, Jr,isR ESF,T for 9/2/2011 at
                                 10:30 A M in Courtroom 6F, 405 W estCongress Street, Tueson,A Z 8570 l
                                : fore M agistrate Judge D Thom as Fenuro. Ordered by M agistrate Judge D
                                 be
                                 ThomasFen'   aro.(DTF)(ThisisaTEXT ENTRY ONLY. There isno pdf
                                 documentassociatedwith thisentry.)(Entered:08/26/2011)
      09/02/201l                M inute Entry forproceedingsheld before M agistrate Judge D Thom as
                                Ferraro:Com petency Hearing asto Pedro Cortes-Rodriguez, Jrheld on
                                9/2/2011.Governmentanddefensecounselhaveno objectiontothefiling
                                ofthe reportunder SEA L , both agreeto therecomm endation. D efendant
                                disagreesw ith the findings, ltIsO rdered thatthe defendantreceive a second
                                e
                                Cvaluation.Intep reterD esignation R em oved. (Recordedby
                                  OURTSM ART.IIALS)(Entered:09/07/2011)
     09/21/2011                 ORD ER OF CO M M ITM EN T asto Pedro Cortes-Rodriguez, Jr,Status
                                Contkrencesetfor2/8/2012 at1l:00 AM in Courtroom 6F, 405 W est
                                CongTess Street,Tucson, AZ 85701beforeM agistrateJudge D Thomas
                                Fe
                                (Erraro.Signed by M agistrate Judge D Thom asFerraro on 9/14/11.(REW )
                                  ntered:09/21/2011)
     11/28/201l         o z4 N OTICE O F A TTO RN EY SUB STITU TION :M ATTH EW C CA SSELL   .
                               appearing forUSA .Attorney Amy Elizabeth Peery terminated (Cassell,
                               M                                                            .

                                 atthew)(Entered:11/28/2011)
     12/05/2011         (l4 gs Bureau ofPrisonshaving requested and extension oftheevaluati
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                                        IT IS O RD ERED the C om petency H earing setfor 2/8/2012 at1l:00 A M , as
                                        to Pedro Cortes-Rodriguez,Jr,is RESET 4/11/2012 at 11:00 A M in
                                        Courtroom 6F,405 W estCongress Street,Tucson, AZ 85701betbre
                                        M agistrate Judge D Thom asFerraro.Ordered by M agistrate Judge D
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         04/11/2012   h#2h lM inuteEntry forproceedingsheld before M agistrateJudgeD Thomas
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                                       qFerraro:Status Conference as to Pedro Cortes-Rodriguez, Jrheld on
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                                        4/11/20 12.ItOrdered thatthe m atterissetfora Sells Hearing on 4/26/2012
                                        at0l:30PM before M agistrate Judge D Thom as Ferraro. (Reeordedby
                                        COURTSMART.IIREC)Moditiedon 4/13/2012tocorrecttextfrom Status
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                                                                EC).(Entered:04/13/2012)
                      l.
                      x-x.x
         04/11/2012   h#73. PsychiatricReportReceived(Sealed)astoPedroCortes-Rodriguez,Jr
                                  ..


                             (BAR)cc:None(Entered:04/17/2012)
                      k                                                                                      '

         04/17/2012   i/ 7.7 M OTION toDismissIndictmentwithoutPrejudiceby USA astoPedro
                              .


                             Cortes-Rodriguez,Jr.(Cassell,Matthew)(Entered:04/17/2012)
         04/19/2012   Q7# 7(
                           2 RESPONSE to M otion by Pedro Cortes-Rodriguez,JrreJ-
                              .-                                                1M OTION to      ..

                             DismisslndictmentwithoutPrejudice(M urray,Robert)(Entered:      .

                             04/19/2012)
         04/20/2012   Q'%4(1 ORDER granting 2-
                                   .          /MotiontoDismisslndictmentwithoutprejudiceasto
                                                          -

                            PedroCortes-RodriguezJr.(1).SignedbyJudgeCindyK Jorgenson on
                            4/19/2012.(ALS)(Entered:04/20/2012)
         04/25/2012   tW 41 Them atterhaving been dism issed by the Districtcourt, IT IS ORD ERED
                                       .vacating the SellHearing,as to Pedro Cortes-Rodriguez, Jrpresently setfor
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                                        4/26/2012 at 1:30 PM betxore Judge D Thom as Fenuro. O rdered by
                                       M agistrateJudgeD ThomasFen'aro.tDTFltThisisaTEXT ENTRY ONLY.
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Case 1:13-cv-22020-KMW Document 1 Entered on FLSD Docket 06/05/2013 Page 103 of 107
        Case 1:13-cv-22020-KMW Document 1 Entered on FLSD Docket 06/05/2013 Page 104 of 107




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